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                          EXHIBIT D
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                                                                                                         12/15/2020 9:25 AM
                                                                               Marilyn Burgess - District Clerk Harris County
                                                                                                    Envelope No. 48949,172
                                                                                                                 By: D Burton
                                                                                                  Filed: 12/15/2020 9:25 AM

                                 CAUSE NO.

LEW V. HENLEY II                                               IN THE DISTRICT COURT OF

VS.
                                                               HARRIS COUNTY,TEXAS
UNITED AIRLINES,INC.


                                                                          JUDICIAL DISTRICT

                             PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, LEW V. HENLEY II, Plaintiff herein, complaining of Defendant,

UNITED AIRLINES, INC., and for cause of action, Plaintiff would respectfully show the Court

the following:

                                                  I.

       Plaintiff is a resident of St. Thomas, Virgin Island, United States.

       Defendant, UNITED AIRLINES, INC., is a corporation doing business in the state of Texas

and may be served with process through its registered agent, CT Corporation System, 1999 Bryan

St., Ste. 900, Dallas, Texas 75201.



       Venue is proper in this Court in that a substantial part of the events or omissions giving rise

to the cause of action at issue occurred in Harris County, Texas.




       Plaintiff would show that on or about June 6, 2020, Plaintiff purchased a flight with

disability services/ wheelchair assistance. An employee of Defendant, United Airlines, Inc., arrived

late to take Plaintiff to his flight and was rushing to the gate when he went over a bump causing
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Plaintiffs legs to fall on the ground, at this time, Defendant's employee who was operating the

wheelchair continued moving forward, pushing the wheelchair over Plaintiffs foot/feet, and caused

injuries to Plaintiff. Defendant's negligence and failure to properly train and supervise its

employees, and properly provide adequate services, and necessary equipment and care resulted

in Plaintiff suffering severe and permanent injuries to his knee, ankle and body generally.

                                                   IV.

        Plaintiff would further show that he was gainfully employed at the time of the accident in

question and has suffered damages from loss of earnings and loss of earning capacity in the past and

that his capacity to earn wages in the future has been substantially impaired and injured as a result

ofthis accident.

                                                   V.

        Plaintiff would show that the incident made the basis of this suit, his injuries and damages

arose from the negligence of the Defendant, through their respective agents, servants and/or

employees.

        Plaintiff further alleges that Defendant, their agents, servants and/or employees negligently

caused or permitted such condition to exist, in spite of the fact that Defendant's agents, servants

and/or employees knew, or in the exercise of ordinary care should have known, of the existence of

the dangerous condition and that there was a likelihood of someone being injured as happened to the

Plaintiff.

        Further, Defendant, their agents, servants and/or employees were guilty of certain acts

and/or omissions, each and all amounting to reckless and/or negligence. Said acts and/or

omissions include, without limitation, the following:



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               a.     In failing to foresee the likelihood of injury imposed by its respective
                      agents, servants and/or employees;

               b.     In failing to control the conduct of the its respective agents, servants and/or
                      employees;

               c.     In failing to properly train its respective agents, servants and/or
                      employees;

               d.     In failing to use ordinary care to prevent foreseeable injury;

               e.     In failing to use ordinary care in taking precautions to protect the safety of
                      others;

              f.      In failing to implement or install proper safety devices to prevent
                      foreseeable injury to others;

               g.     In failing to use an adequate wheelchair with proper support to the feet;

               h.     In failing to provide reasonably safe services for its invitees, business
                      invitees and/or others; and

               h.     In committing various acts and/or omissions of negligence, both statutory
                      and common law,to be specified in detail at the time oftrial.

       Each of the foregoing negligent acts and/or omissions, whether taken singularly or in

combination, was a proximate cause of Plaintiff's injuries and damages, which are described below.

                                                VI.

       As a proximate result of the incident made the basis of this suit and Defendant's reckless

and/or negligent acts and/or omission, Plaintiff brings this suit against the Defendant individually

and/or through their respective agents, servants, and/or employees to recover damages for the

following:

      (1)      Past medical bills and expenses incurred as a proximate result of the accident
               made the basis of this suit;

      (2)      Future medical bills and expenses that in all reasonable probability will be
               incurred as a proximate result ofthe accident made the basis of this suit;



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       (3)     Mental anguish, physical pain and suffering, disability, and loss of enjoyment of
               life in the past and all reasonable probability, would be sustained in the future;

      (4)      Physical impairment in the past and in the future;

      (5)      Loss of earnings and loss of earning capacity;

      (6)      Disfigurement in the past;

      (7)      Disfigurement in the future;

      (8)      Pre-judgment and post-judgment interest; and

      (9)      Such other and further items of damages as may be supplemented as a result of
               the discovery performed in this suit.

       The above-listed elements of damages were brought about to occur and were proximately

caused by the reckless and/or negligent acts and/or omission of the Defendant herein.

                                                VII.

       Plaintiff would further show that at all times material hereto, Defendant's agents,

servants, and/or employees were acting within the course and scope of their employment with

Defendant, UNITED AIRLINES,INC., and for the financial benefit of Defendant, and Defendant is

vicariously liable for any and all acts of negligence on the part of Defendant agents, servants,

and/or employees under the doctrine of respondeat superior.

                                                VIII.

       Although the amount to be awarded herein to Plaintiff for his actual damages is a matter

lying largely within the discretion of the jury, Plaintiff would show that said amount greatly exceeds

the minimum jurisdiction of this Honorable Court. In this regard, Plaintiff requests that the Jury

award him fair and reasonable compensation for Plaintiff's damages. Based on the information

currently available to Plaintiff, Plaintiff seeks monetary relief according to Texas Rules of Civil

Procedure 47(c)(5) to fairly and reasonably compensate him for his injuries, damages and losses.

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                                                  IX.

       Plaintiff further alleges that the Defendant's acts and/or omissions, directly and/or indirectly,

as described herein, were the result of the Defendant's heedless and reckless disregard for the safety

of Plaintiff. The Defendant's acts and/or omissions when viewed objectively involved an extreme

degree of risk, considering the probability and magnitude of the potential harm to others. Defendant

had actual, subjective awareness of the risks involved, but nevertheless proceeded with conscious

indifference to the rights, safety and welfare of others. By reason of the Defendants' gross

negligence and malice, Plaintiff hereby seeks recovery of exemplary damages.

                                                  X.

       Plaintiff demands a jury trial and tenders the appropriate fee with this petition.

                                                  XI.

                                     WRITTEN DISCOVERY

                                 REQUEST FOR DISCLOSURE

       Under the authority of Texas Rule of Civil Procedure 194, Plaintiff requests that Defendant

disclose within fifty (50) days of the service of this request, the information or material described in

Rule 194.2.

                                 REQUEST FOR ADMISSIONS

       Plaintiff's Request for Admissions to Defendant United Airlines, Inc., is attached as

"Exhibit A."

                                      INTERROGATORIES

       Plaintiff's Interrogatories to Defendant United Airlines, Inc., is attached as "Exhibit B."




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                                REQUESTS FOR PRODUCTION

       Plaintiff's Requests for Production to Defendant United Airlines, Inc., is attached as

"Exhibit C."

                                                 XII.

                                       RULE 193.7 NOTICE

       Plaintiff intends to use all Defendant's discovery responses as evidence at trial in

accordance with such right and privileges established by Texas Rule of Civil Procedure 193.7.



        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Defendant be duly

cited in terms of law to appear and answer herein, and that upon final hearing, Plaintiff has

judgment against said Defendant, which are within the minimal jurisdictional limits of this Court,

for both pre- and post-judgment interest thereon at the legal rate, exemplary damages, for cost of

court, and for such other and further relief, special or general, at law or in equity, to which Plaintiff

may be justly entitled.




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                                Respectfully submitted,

                                 PROVOST * U1VIPHREY LAW FIRM,L.L.P.
                                 490 Park Street
                                 P.O. Box 4905
                                 Beaumont, Texas 77704
                                (409)835-6000
                                 Telefax:(409)813-8605


                                By: /s/ Fabiana Baum
                                        FABIANA BAUM
                                        State Bar No. 24101489
                                        fbaum@pulf.com

                                 ATTORNEY FOR PLAINTIFF




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EXHIBIT "A"
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                                 CAUSE NO.

LEW V. HENLEY II                                             IN THE DISTRICT COURT OF

VS.
                                                             HARRIS COUNTY,TEXAS
UNITED AIRLINES,INC.


                                                                        JUDICIAL DISTRICT

         PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO DEFENDANT

TO:    DEFENDANT, UNITED AIRLINES, INC., BY AND THROUGH ITS REGISTERED
       AGENT CT CORPORATION SYSTEM, 1999 BRYAN ST., STE. 900, DALLAS,
       TEXAS 75201.

       Pursuant to Rule 198 of the Texas Rules of Civil Procedure, Plaintiff requests that, on the

fiftieth (50th)day after the date of receipt of these requests, you deliver or cause to be delivered

to the undersigned a sworn statement, either admitting or denying specifically the facts

hereinafter listed or setting forth in detail the reasons why you cannot truthfully either admit or

deny such facts. Each of the facts hereinafter listed shall be deemed admitted unless you deliver

or cause to be delivered a sworn statement in response as provided in Rule 198.

                                              Respectfully submitted,

                                              PROVOST* UMPHREY LAW FIRM,L.L.P.
                                              490 Park Street
                                              P.O. Box 4905
                                              Beaumont, Texas 77704
                                             (409)835-6000
                                              Fax (409)813-8605

                                              By: /s/Fabiana Baum
                                                   FABTANA BAUM
                                                   State bar No.24101489
                                                   fbaumApulf.com

                                              ATTORNEY FOR PLAINTIFF
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       PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO DEFENDANT


1.   Defendant has been properly named and served in this lawsuit.

ANSWER:


2.   Plaintiff was, at the time of the alleged occurrence, an invitee of the Defendant.

ANSWER:


3.   Defendant was operating the wheelchair on which the alleged incident occurred.

ANSWER:


4.   Defendant does have in its actual or constructive possession photographs of the scene of
     the accident.

ANSWER:


5.   Defendant has in its actual or constructive possession statements of any witnesses to the
     occurrence in question.

ANSWER:


6.   The incident in question occurred on June 06, 2020.

ANSWER:


7.   Plaintiff's injuries as described in his Original Petition were proximately caused by
     negligence of the Defendant.

ANSWER:


8.   Defendant has in its actual or constructive possession custody or control, a report or
     reports regarding or referring to the incident which has made the basis of this suit.

ANSWER:
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9.     Plaintiff was not contributorily negligent nor a proximate cause of his injuries.

ANSWER:


10.    It was Defendant's responsibility to operate the wheelchair that injured Plaintiff.

ANSWER:


1 1.   Defendant failed to choose the proper wheelchair with feet support.

ANSWER:

10.    It was Defendant's responsibility to transport the Plaintiff inside the airport when the
       incident occurred.

ANSWER:

1 1.   Defendant received payment from Plaintiff to provide wheelchair assistance.

ANSWER:

14.    Defendant offered the wheelchair assistance to its customers.

ANSWER:

15.    Defendant chose the wheelchair that transported Plaintiff.

ANSWER:

16.    Defendant showed up later to transport Plaintiff to the gate.

ANSWER:

17.    Defendant was informed of the level and type of assistance Plaintiff would require.

ANSWER:
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EXHIBIT "B"
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                                  CAUSE NO.

LEW V. HENLEY II                                               IN THE DISTRICT COURT OF

VS.
                                                               HARRIS COUNTY,TEXAS
UNITED AIRLINES,INC.


                                                                          JUDICIAL DISTRICT

         PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT

TO:    DEFENDANT, UNITED AIRLINES, INC., BY AND THROUGH ITS REGISTERED
       AGENT CT CORPORATION SYSTEM, 1999 BRYAN ST., STE. 900, DALLAS,
       TEXAS 75201.

       Plaintiff hereby makes request in accordance with the Texas Rules of Civil Procedure, that

Defendant answer each and all of the following Interrogatories within fifty (50) days after the

service of a copy hereof upon you. You are further notified that these Interrogatories are continuing

by nature, requiring supplemental answers as required by said Rule.

       In answering these Interrogatories, the Defendant must furnish all requested information not

subject to a valid objection, that is known by, possessed by, or available to Defendant or any of

Defendant's attorneys, consultants, representatives, or other agents.

       If the Defendant is unable to answer fully any of these Interrogatories, it should answer them

to the fullest extent possible, specifying the reason(s) for the inability to answer the remainder, and

stating whatever information, knowledge or belief he has concerning the unanswerable portion. An

evasion or incomplete answer is deemed to be a failure to answer and may render the Defendant, its

attorney, or both, liable for the expenses of a Motion, pursuant to T.R.C.P. 215.

       The Defendant must object separately to each sub-part if objecting to less than all ofthe sub-

parts of a numbered Interrogatory, then Defendant must answer the remaining sub-parts. In

addition, if the Defendant objects to an Interrogatory, or sub-part thereof as calling for information
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which is beyond the scope of discovery,(e.g., "not reasonably calculated to lead to the discovery of

admissible evidence", "work product", "unduly burdensome", etc.), Defendant must, nevertheless,

answer the Interrogatory or sub-part thereofto the extent that it is not objectionable.

                                               Respectfully submitted,

                                               PROVOST* UMPHREY LAW FIRM,L.L.P.
                                               490 Park Street
                                               P.O. Box 4905
                                               Beaumont, Texas 77704
                                              (409)835-6000
                                               Fax(409)813-8605

                                               By: /s/Fabiana Baum
                                                    FABIANA BAUM
                                                    State bar No. 24101489
                                                    fbaum@pulf.com

                                               ATTORNEY FOR PLAINTIFF
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                                          DEFINITIONS

As used in this set of Interrogatories, the following terms mean:

       "YOU," "YOUR," "YOUR COMPANY," or "DEFENDANT" means the corporate
       defendant separately answering these Interrogatories, its parent(s), its merged, consolidated,
       or acquired predecessors, divisions, subsidiaries, and/or affiliates, including present and
       former officers, directors, agents, employees, and all other persons acting or purporting to
       act on behalf of the corporate defendant or its predecessors, subsidiaries and/or affiliates.
       These words also include all agents, employees, representatives, attorneys, and all other
       persons acting on Defendant's behalf.

2.     "YOU INDIVIDUALLY" refers to the person answering these Interrogatories as an
       individual and not to any of his nor the Defendant's attorneys, consultants, representatives,
       or other agents.

3.     "PERSON" means any natural person, corporation, firm, association, partnership, joint
       venture, proprietorship, governmental body or any organization, business or legal entity, and
       all predecessors or successors in interest.

4.     "DOCUMENT," "DOCUMENTS" and "DOCUMENTATION," are used in their
       broadest sense and mean all written, printed, typed, recorded, or graphic matter of every
       kind and description, source and authorship, both originals and all non-identical copies
       thereof, and all written, printed, typed, recorded, or graphic matter of every kind and
       description, both originals and copies, and all attachments and appendices thereto, in your
       possession, custody or control, or known by you to exist, irrespective or whether the
       writing is one intended for or transmitted internally by you, or intended for or transmitted
       to any other person of entity, including without limitation any government agency,
       department, administrative or private entity or person. Without limiting the foregoing,
       the terms "document" and "documents" include handwritten, typewritten, printed,
       photocopied, photographic or recorded, stenographic, computer-generated or
       electronically stored matters, however and by whomever produced, prepared, reproduced,
       disseminated or made, and includes communications in words, symbols, pictures, sound
       recordings, films, tapes and information stored in, or accessible through, computer or
       other information storage or retrieval systems, together with the codes and/or
       programming instruction and other materials necessary to understand and use such
       systems. For purposes of illustration and no limitation, "documents" includes: accounts;
       advertising; affidavits; agendas; agreements; analyses; analytical records;
       announcements; appointment books; appraisals; articles; bills; statements and other
       records of obligations and expenditures; books; brochures; bulletins; calendars; checks;
       cancelled checks, vouchers, receipts and other records of payments; charts, drawings;
       check registers; checkbooks; circulars; collateral files and contents; communications;
       compilations; confirmations; consultant's reports; contracts; corporate by-laws; corporate
       charters; correspondence' credit files and contents; data compilations from which
       information can be obtained (including matter used in data processing); deeds of trust;
       deposit slips, diaries, diary entries; drafts; envelopes; folders or similar containers;
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     expense reports; facsimile transmissions; files; film tape; financial statements; forecasts;
     graphs; guaranty agreements; instructions, invoices; ledgers, journals, balance sheets,
     profit and loss statements, and other sources of financial data; letters; letters of credit;
     lists; log books; logs, notes or memoranda of telephonic or face-to-face conversations;
     manuals; maps; marginal notations; memoranda of all kinds to and from any persons,
     agencies or entities; messages; microfilm; microfiche; minutes; minute books; notes;
     notebooks; notices; pamphlets; parts lists; papers; photographs, press releases, printed
     matter (including published books, articles; speeches and newspaper clippings); printouts;
     programs; punch cards; purchase orders; receipts; recommendations; records; records of
     administrative, technical and financial actions taken or recommended; reports; safety
     deposit boxes and contents and records of entry; schedules; security agreements; sell
     orders; sound recordings; specifications; speeches; statement of bank accounts;
     statements; interviews; statistical data; statistical statements, stock transfer ledger;
     studies; surveys; tables; tabulations; tape or disc recordings; tape programs; technical and
     engineering reports, evaluations; advice; recommendations; commentaries; conclusions;
     studies; test plans; manuals; procedures; data; reports; results and conclusions;
     summaries, minutes, notes and other records and recordings of any conference, meetings,
     visits, negotiations, statement, interviews or telephone conversations; other summaries;
     telegrams; teletypes; telexes and other communications sent or received; time records;
     telephone bills or records; trade letters; transcripts of hearings; transcripts of testimony;
     UCC instruments; video recordings; visitor records; vouchers; work assignments; work
     sheets; work papers; and all other printed, written, handwritten, typewritten, recorded,
     stenographic, computer-generated, computer-stored or electronically stored matter,
     however or by whomever produced, prepared, reproduced, disseminated or made, the
     contents of which relate to, discuss, consider or otherwise refer to the subject matter of
     the particular discovery requested. "This request specifically requests all responsive
     electronic and/or magnetic data, including emails, electronic data, tapes, CD's, MPEG's,
     JPG's, and all other electronic data. Moreover, this request specifically seeks any deleted
     information from these specifically identified fields of data, including any deleted
     emails."

5.   "COMMUNICATION" means the transmission, sending and/or receipt of information of
      any kind by or through any means, including but not limited to speech, writings, language
     (machine, foreign or otherwise), computer electronics of any kind (e.g., email), magnetic
      tape, videotape, photographs, graphs, symbols, signs, magnetic or optical discs, "floppy
      discs," CD-ROM discs, sound, radio or video signals, telecommunication, telephone
      teletype, facsimile, telegraph, microfilm, microfiche, photographic film of any type and
      other media of any kind. The term "communication" also includes, without limitations
      all "records" (as hereafter defined) and all inquiries, discussions, conversations,
      negotiations, agreements, understandings, meetings, notices, requests, responses,
      demands, complaints, and press, publicity or trade releases. "This request specifically
      requests all responsive electronic and/or magnetic data, including emails, electronic data,
      tapes, CD's, MPEG's, JPG's, and all other electronic data. Moreover, this request
      specifically seeks any deleted information from these specifically identified fields of data,
      including any deleted emails."
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6.     "RECORD(S)" means all documents and writings of any kind, and all communications
       (as defined above) which are stored or retrievable or recorded in any manner, including
        originals and all non-identical copies whether different from the originals by mutation
        made on such copies or otherwise, all drafts, alterations, modifications, changes and
        amendments, graphic or any electronic or mechanical records or representation of any
        kind, created during the period 1999 to the present. Any electronic records or computer
        data which may exist shall be produced in ASCii comma delimited to fixed length filed
       format and shall include all file, records, instructions, codes or other information
        necessary to retrieve the data. Electronic data should be produced in Microsoft Access
        95 or Microsoft Access 95, 97 or 2000(MDB)formal Dbase (DBF)format, Excel (xls)
        format or ASCii comma delimited or fixed length format (txt) and shall include all file,
        record and field format definitions and the instructions, codes or information necessary to
        retrieve the data. Such electronic data should be provided on one of the following media.
       Zip disk, Jaz disk, CD-ROM or 3.5" floppy disk.

7.     "DESCRIBE" and "IDENTIFY" when referring to a person, are defined to require that you
       state the following:

        a.     the full name;
        b.     present or last known residential address;
        c.     the present or last known residential or office telephone numbers; and
        d.     the present occupation,job title, employer and employer's address at the time of the
               event or prior.

8.     "AND" means "and/or."

9.     "OR" means "or/and."

10.    "CONCERNING" means in whole or in part, directly or indirectly, referring to, relating to,
       connected with, commenting on, responding to, showing, describing, analyzing, reflecting,
       and constituting.

1 1.   "DATE" refers to the date of the occurrence as in alleged in Plaintiff's Petition.

12.     "PLAINTIFF" or "LEW V. HENLEY II" means plaintiff, his agents, representatives, or
        other person acting in concert with him, or under his control, whether directly or indirectly,
        including any attorney.

13.    "DEFENDANT" or "UNITED AIRLINES, INC.," means defendant, its agents,
       representatives, or any other persons acting in concert with it, or under its control, whether
       directly or indirectly, including any attorney.

14.    "OCCURRENCE," "ACCIDENT," and/or "INCIDENT" means the incident made the basis
       ofthis suit as alleged in Plaintiff's Petition.

15.    "STATEMENTS" means any written or graphic statement signed or otherwise adopted or
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    proved by the person making it, any stenographic, mechanical, electrical or other recording
    or transcription thereof including videotapes which is substantially verbatim recital of an
    oral statement by the person making it and contemporaneously recording it.
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                                    INTERROGATORIES

1. Please identify yourself fully, giving your full name, residence, business address, date of
   birth, social security number and occupation.

ANSWER:


2. Was the Defendant transporting the Plaintiff on a wheelchair at the time of the occurrence
   made the basis of this lawsuit?

ANSWER:


3. Who was responsible for choosing the wheelchair that transported the Plaintiff?

ANSWER:


4. Who oversaw and managed the staff that transported customer with disability or special
   needs for the Defendant?

ANSWER:


5. What Defendant's employee(s) was(were) responsible for the training and supervision of the
   staff transporting customers in the airport on the day of the incident in question?

ANSWER:


6. Who (company or person) possesses the wheelchairs that United made use to serve its
   customer with special needs or disability?

ANSWER:


7. Who assisted Plaintiff after the incident?

ANSWER:
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8. Please describe in full detail how the Plaintiff's alleged occurrence made the basis of this
   lawsuit happened, giving all events in detail in the order in which they occurred, before, at
   the time of, or after the occurrence, which had any bearing on the cause and manner of the
   happening of the occurrence.

ANSWER:


9. Please state in complete detail the facts which form the basis for whatever legal relationship
   the Defendant claims the Plaintiff had with the Defendant at the time of the alleged
   occurrence, indicating whether tenant, social guest, business invitee, licensee, trespasser or
   otherwise.

ANSWER:


10. Did you or any agent or employee of the Defendant or anyone known to you see or witness
    any part or all of the alleged occurrence? If so, please state:

      (a) The name and address of each person who saw or witnessed any part of the alleged
       occurrence;
      (b) Describe in as much detail as possible everything that was seen or noticed by each
       such person;
      (c) State where, in relation to the exact location of the occurrence, each such person was
       at the time of any such witnessing of the occurrence.

ANSWER:


1 1. State separately the names, address, employers and telephone numbers of any and all persons
     known to you or to anyone acting on your behalf, who saw or heard or claim to have seen or
     heard any of the events or happenings that occurred immediately before, at the time of, or
     immediately after this incident.

ANSWER:


12. Did you or anyone acting on your behalf investigate the incident that is the subject of this
    lawsuit? If so, please state the findings or conclusions of any such investigation.

ANSWER:
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13. State separately the names, addresses, employers and telephone numbers of any and all
    persons known to your or to anyone acting on your behalf, who investigated the events or
    happenings that occurred in connection with this incident.

ANSWER:


14. Do you, your attorneys, or investigators, or anyone acting on your behalf, have any
    photographs taken of any of the physical or mechanical objects or of the persons involved in
    this incident?

ANSWER:


15. State the name and address of every person known to you, your agents, or attorneys who
    have heard or purported to have heard the Plaintiff make any statement, remark, or comment
    concerning the occurrence described in the petition.

ANSWER:


16. Describe, in detail, Defendant's standard practices and procedures regarding transportation
   inside the airport of customers with disability and/or special needs who requires assistance at
   the airport.

ANSWER:
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EXHIBIT "C"
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                                 CAUSE NO.

LEW V. HENLEY II                                              IN THE DISTRICT COURT OF

VS.
                                                              HARRIS COUNTY,TEXAS
UNITED AIRLINES,INC.


                                                                         JUDICIAL DISTRICT


        PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT

TO:    DEFENDANT, UNITED AIRLINES, INC., BY AND THROUGH ITS REGISTERED
       AGENT CT CORPORATION SYSTEM, 1999 BRYAN ST., STE. 900, DALLAS,
       TEXAS 75201.

       Pursuant to the Texas Rules of Court, request is hereby made that the following documents

and things be produced in the law offices ofPROVOST * UMPHREY,490 Park Street, P. 0. Box

4905, Beaumont, Texas; to counsel for the Plaintiff no later than fiftieth (50) days after the receipt

of same.

                                              Respectfully submitted,

                                              PROVOST* UMPHREY LAW FIRM,L.L.P.
                                              490 Park Street
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                                    A.INSTRUCTIONS

1.   For each document or other requested information that you assert is privileged, or for any
     other reason excludable from discovery, identify that document or other requested
     information. State the specific grounds for the claim of privilege or other grounds for
     exclusion. Also, for each document state the date of the document, the name,job title and
     address of the person who prepared it; the name, address, and job title of the person to
     whom it was addressed or circulated or who saw it; the name, address, and job title of the
     person now in possession of the document; and the description of the subject matter of thefl
     document.

2.   For any requested information about a document that no longer exists, or cannot be located,
     identify the document, state how and when it passed out of existence, or when it could no
     longer be located, and the reason(s) for the disappearance. Also identify each person having
     knowledge about the disposition or loss and identify each document evidencing the
     existence or non-existence of each document that cannot be located.

                                      B.DEFINITIONS

1.   "YOU," "YOUR," "YOUR COMPANY," or "DEFENDANT" means the corporate
     defendant separately answering these Interrogatories, its parent(s), its merged, consolidated,
     or acquired predecessors, divisions, subsidiaries, and/or affiliates, including present and
     former officers, directors, agents, employees, and all other persons acting or purporting to
     act on behalf of the corporate defendant or its predecessors, subsidiaries and/or affiliates.
     These words also include all agents, employees, representatives, attorneys, and all other
     persons acting on Defendant's behalf.

2.   "YOU INDIVIDUALLY" refers to the person answering these Interrogatories as an
     individual and not to any of his nor the Defendant's attorneys, consultants, representatives,
     or other agents.

3.   "PERSON" means any natural person, corporation, firm, association, partnership, joint
     venture, proprietorship, governmental body or any organization, business or legal entity, and
     all predecessors or successors in interest.

4.   "DOCUMENT," "DOCUMENTS" and "DOCUMENTATION," are used in their
     broadest sense and mean all written, printed, typed, recorded, or graphic matter of every
     kind and description, source and authorship, both originals and all non-identical copies
     thereof, and all written, printed, typed, recorded, or graphic matter of every kind and
     description, both originals and copies, and all attachments and appendices thereto, in your
     possession, custody or control, or known by you to exist, irrespective or whether the
     writing is one intended for or transmitted internally by you, or intended for or transmitted
     to any other person of entity, including without limitation any government agency,
     department, administrative or private entity or person. Without limiting the foregoing,
     the terms "document" and "documents" include handwritten, typewritten, printed,
     photocopied, photographic or recorded, stenographic, computer-generated or
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    electronically stored matters, however and by whomever produced, prepared, reproduced,
    disseminated or made, and includes communications in words, symbols, pictures, sound
    recordings, films, tapes and information stored in, or accessible through, computer or
    other information storage or retrieval systems, together with the codes and/or
    programming instruction and other materials necessary to understand and use such
    systems. For purposes of illustration and no limitation, "documents" includes: accounts;
    advertising; affidavits; agendas; agreements; analyses; analytical records;
    announcements; appointment books; appraisals; articles; bills; statements and other
    records of obligations and expenditures; books; brochures; bulletins; calendars; checks;
    cancelled checks, vouchers, receipts and other records of payments; charts, drawings;
    check registers; checkbooks; circulars; collateral files and contents; communications;
    compilations; confirmations; consultant's reports; contracts; corporate by-laws; corporate
    charters; correspondence' credit files and contents; data compilations from which
    information can be obtained (including matter used in data processing); deeds of trust;
    deposit slips, diaries, diary entries; drafts; envelopes; folders or similar containers;
    expense reports; facsimile transmissions; files; film tape; financial statements; forecasts;
    graphs; guaranty agreements; instructions, invoices; ledgers, journals, balance sheets,
    profit and loss statements, and other sources of financial data; letters; letters of credit;
    lists; log books; logs, notes or memoranda of telephonic or face-to-face conversations;
    manuals; maps; marginal notations; memoranda of all kinds to and from any persons,
    agencies or entities; messages; microfilm; microfiche; minutes; minute books; notes;
    notebooks; notices; pamphlets; parts lists; papers; photographs, press releases, printed
    matter (including published books, articles; speeches and newspaper clippings); printouts;
    programs; punch cards; purchase orders; receipts; recommendations; records; records of
    administrative, technical and financial actions taken or recommended; reports; safety
    deposit boxes and contents and records of entry; schedules; security agreements; sell
    orders; sound recordings; specifications; speeches; statement of bank accounts;
    statements; interviews; statistical data; statistical statements, stock transfer ledger;
    studies; surveys; tables; tabulations; tape or disc recordings; tape programs; technical and
    engineering reports, evaluations; advice; recommendations; commentaries; conclusions;
    studies; test plans; manuals; procedures; data; reports; results and conclusions;
    summaries, minutes, notes and other records and recordings of any conference, meetings,
    visits, negotiations, statement, interviews or telephone conversations; other summaries;
    telegrams; teletypes; telexes and other communications sent or received; time records;
    telephone bills or records; trade letters; transcripts of hearings; transcripts of testimony;
    UCC instruments; video recordings; visitor records; vouchers; work assignments; work
    sheets; work papers; and all other printed, written, handwritten, typewritten, recorded,
    stenographic, computer-generated, computer-stored or electronically stored matter,
    however or by whomever produced, prepared, reproduced, disseminated or made, the
    contents of which relate to, discuss, consider or otherwise refer to the subject matter of
    the particular discovery requested. "This request specifically requests all responsive
    electronic and/or magnetic data, including emails, electronic data, tapes, CD's, MPEG's,
    JPG's, and all other electronic data. Moreover, this request specifically seeks any deleted
    information from these specifically identified fields of data, including any deleted
    emails."
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5.    "COMMUNICATION" means the transmission, sending and/or receipt of information of
       any kind by or through any means, including but not limited to speech, writings, language
      (machine, foreign or otherwise), computer electronics of any kind (e.g., email), magnetic
      tape, videotape, photographs, graphs, symbols, signs, magnetic or optical discs, "floppy
       discs," CD-ROM discs, sound, radio or video signals, telecommunication, telephone
      teletype, facsimile, telegraph, microfilm, microfiche, photographic film of any type and
       other media of any kind. The term "communication" also includes, without limitations
       all "records" (as hereafter defined) and all inquiries, discussions, conversations,
       negotiations, agreements, understandings, meetings, notices, requests, responses,
       demands, complaints, and press, publicity or trade releases. "This request specifically
       requests all responsive electronic and/or magnetic data, including emails, electronic data,
      tapes, CD's, MPEG's, JPG's, and all other electronic data. Moreover, this request
       specifically seeks any deleted information from these specifically identified fields of data,
       including any deleted emails."

6.    "RECORD(S)" means all documents and writings of any kind, and all communications
      (as defined above) which are stored or retrievable or recorded in any manner, including
       originals and all non-identical copies,whether different from the originals by mutation
       made on such copies or otherwise, all drafts, alterations, modifications, changes and
       amendments, graphic or any electronic or mechanical records or representation of any
       kind, created during the period 1999 to the present. Any electronic records or computer
       data which may exist shall be produced in ASCii comma delimited to fixed length filed
      format and shall include all file, records, instructions, codes or other information
       necessary to retrieve the data. Electronic data should be produced in Microsoft Access
      95 or Microsoft Access 95, 97 or 2000(MDB)formal Dbase (DBF)format, Excel (xis)
      format or ASCii comma delimited or fixed length format (txt) and shall include all file,
       record and field format definitions and the instructions, codes or information necessary to
       retrieve the data. Such electronic data should be provided on one of the following media.
      Zip disk, Jaz disk, CD-ROM or 3.5" floppy disk.

7.    "DESCRIBE" and "IDENTIFY" when referring to a person, are defined to require that you
      state the following:

       a.     the full name;
       b.     present or last known residential address;
       c.     the present or last known residential or office telephone numbers; and
       d.     the present occupation,job title, employer and employer's address at the time of the
              event or prior.

8.    "AND" means "and/or."

9.    "OR" means "or/and."

10.   "CONCERNING" means in whole or in part, directly or indirectly, referring to, relating to,
      connected with, commenting on, responding to, showing, describing, analyzing, reflecting,
      and constituting.
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11.   "DATE" refers to the date of the occurrence as in alleged in Plaintiff's Petition.

12.   "PLAINTIFF" or "LEW V. HENLEY II" means plaintiff, his agents, representatives, or
      other person acting in concert with him, or under his control, whether directly or indirectly,
      including any attorney.

13.   "DEFENDANT" or "UNITED AIRLINES, INC.," means defendant, its agents,
      representatives, or any other persons acting in concert with it, or under its control, whether
      directly or indirectly, including any attorney.

14.   "OCCURRENCE," "ACCIDENT," and/or "INCIDENT" means the incident made the basis
      ofthis suit as alleged in Plaintiff's Petition.

15.   "STATEMENTS" means any written or graphic statement signed or otherwise adopted or,
      proved by the person making it, any stenographic, mechanical, electrical or other recording
      or transcription thereof including videotapes which is substantially verbatim recital of an
      oral statement by the person making it and contemporaneously recording it.
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                                ITEMS TO BE PRODUCED:


1.   All investigative, accident, injury or illness reports or documents concerning the Plaintiff
     and/or the occurrence in question including any conclusions or findings reached in any
     investigative capacity.

RESPONSE:

2.   All documents and materials relating to employee's training and procedure to transport
     customers with disability.

RESPONSE:

3.   Any and all documents and lease agreements for wheelchairs Defendant used during the
     year of 2020 to transport and/or assist customers with special needs.

RESPONSE:

4.   Any and all contracts and agreements made with any other parties involving the
     wheelchair that injured the Plaintiff.

RESPONSE:

5.   Any and all documents regarding Defendant's policy and procedure to serve customers
     with disability.

RESPONSE:

6.   All medical reports, records, bills, receipts invoices or memorandums of whatever kind
     and from whatever source that are in the possession of the Defendant relating to any
     injury or injuries suffered by Plaintiff.

RESPONSE:

7.   Any and all photos, slides, moving pictures, videotapes, graphs, charts models, drawings or
     diagrams which pertain to the facts or issues in this case.

RESPONSE:

8.   Any and all photographs or pictures in Defendant's possession relating to the circumstances
     of Plaintiffs alleged injury or injuries, including but not limited to pictures of Plaintiff or of
     the occurrence made the basis of this suit.

RESPONSE:
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9.     Any and all insurance policies, agreements or contracts, including but not limited to, so-
       called "umbrella" excess or reinsurance coverage or policies of any other type of liability
       or co-insurance coverage by and through which the Defendant was or may be insured or
       covered in any manner to any extent for any cause of action for injuries claimed against it
       in this action.

RESPONSE:

10.    All manuals, books, or writings concerning the transportation of customer with disability or
       need of special assistance which were in effect on the date ofthe incident in question.

RESPONSE:

1 1.   All documents regarding the ownership ofthe wheelchair in question.

RESPONSE:

12.    All manuals, employee handbooks, and any similar documents or materials regarding the
       operation of wheelchair when assisting customers with disability.

RESPONSE:

13.    All statements, whether written or oral (and if oral, a transcription of said statement),
       signed or unsigned, made by the Plaintiffs or others regarding the occurrence or the
       circumstances that caused the injuries and damages set forth in Plaintiffs most recent
       petition on file herein.

RESPONSE:

14.    Any and all reports, factual observations and opinions to or from any expert witnesses
       which Defendant intends to call to testify upon the trial of this cause

RESPONSE:

15.    All correspondence, memos, and other tangible writings to any third party (other than your
       attorneys or insurance carriers) regarding the incident in question.

RESPONSE:

16.    All correspondence, memos, and other tangible writings from any third party (other than
       your attorneys or insurance carriers) regarding the incident in question.

RESPONSE:
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17.   Al! contracts in existence for any or all of the work being performed to assit customers with
      disability at the time of the incident made the basis of this lawsuit.

RESPONSE:

18.   All documents, writings, correspondence, communications and other tangible items
      regarding the transportation of customers with disability or need for special assistance on
      wheelchairs.

RESPONSE:

20.   All documents and other tangible items regarding inspection of the wheelchair prior to the
      incident in question.

RESPONSE:

21.   All documents and other tangible items to or from any person who inspected the
      wheelchair in which Plaintiff got injured.

RESPONSE:

22.   All documents and recording from the Plaintiff requesting transportation assistance inside
      the airport.

RESPONSE:

23.   A copy of the employment record of the employee who was transporting the Plaintiff on
      the day of the incident in question.

RESPONSE:
